                     Case 1:19-cv-11078-WGY Document 1 Filed 05/09/19 Page 1 of 7


Pro Se 1 (Rev. 09/16) Complaint for a Civil Case



                                         United States District Court
                                                                    for the

                                                          District of Massachusetts



                                                                              Case No.
                                                                                          (to befilled in by the Clerk's Office)

                            Plamtijf(s)
OVrite thefull nameofeach plaintiffwho isfiling this complaint.
Ifthe names ofall theplaintiffs cannotfit in the space above,
                                                                              Jury Trial: (check one) • Yes I |No
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)
                                   -V-




                            Defendant(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotJit in the space above, please
write "see attached" in the space and attach an additional page
with thefull list ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE


I.         The Parties to This Compiaint
           A.         The PlaintifT(s)

                      Provide the information below for each plaintiffnamed in the complaint. Attach additional pages if
                      needed.

                                 Name

                                 Street Address                      4. -STiW
                                 City and County                    -'^3.
                                 State and Zip Code
                                 Telephone Number                       9^6 - ^7% S-                   TV"
                                 E-mail Address



           B.         The Defcndant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. Foran individual defendant,
                      include the person's job or title (fknown). Attach additional pages if needed.




                                                                                                                                   Page 1 of 5
                    Case 1:19-cv-11078-WGY Document 1 Filed 05/09/19 Page 2 of 7


Pro Se I (Rev. 09/16) Complaini for a Civil Case


                      Defendant No. 1

                                 Name

                                 Job or Title (ifknown)
                                 Street Address               ~V   Yi-
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (i/known)


                      Defendant No. 2

                                 Name

                                 Job or Title (ifknown)
                                 Street Address           ,

                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifkm-wn)


                      Defendant No. 3

                                 Name

                                 Job or Title (ifknown)
                                 Street Address

                                 City and County
                                 Stale and Zip Code
                                 Telephone Number
                                 E-mail Address (ifkm wn)


                      Defendant No. 4

                                 Name

                                 Job or Title (ifknown)
                                  Street Address

                                  City and County
                                  State and Zip Code
                                  Telephone Number
                                  E-mail Address (if known)



                                                                                   Page 2 of 5
                    Case 1:19-cv-11078-WGY Document 1 Filed 05/09/19 Page 3 of 7


Pro Se 1 (Rev. 09/16) Comptaint for a Civil Case


n.        Basis for Jurisdiction


          Federal courts are courtsof limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a casearising under theUnited States Constitution or federal lawsor treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of oneState suesa citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court Jurisdiction? (check allthat apply)
                  [^Federal question                                Q Diversity of citizenship

           Fill out the paragraphs in this section that apply to this case.

           A.         If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at Issue in this case.




           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.         The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The plaintiff, (name)                                               , is acitizen ofthe
                                            State of (nanu)


                                 b.         If the plaintilTis a corporation
                                            The plaintiff, (name)                                               , is incorporated
                                            under the laws of the State of (name)
                                            and has its principal place of business in the State of (name)



                                 (Ifmore than onepla'inlijfis namedin the complaint, attach an additional page providing the
                                 same informationfor each additional plaintiff.)

                      2.         The Defendant(s)

                                 a.         If the defendant is an individual

                                            The defendant, (name)                                               , is acitizen of
                                            the State of                                                      Or is a citizen of
                                             (foreign nation)

                                                                                                                            Page 3 of 5
                    Case 1:19-cv-11078-WGY Document 1 Filed 05/09/19 Page 4 of 7


Pro Se I (Rev. 09/16) Complaint for a Civil Case




                                            If the defendant is a corporation
                                            The defendant, (name)                                        , is incorporated under
                                            the laws of tiie State of (name)                                       >and has its
                                            principal place of business in the State of (name)
                                            Or is incorporated under the laws of (foreign nation)
                                            and has its principal place of business in (name)

                                 (Ifmore than one clefencianf is named in the complaint, attach an additional pageproviding the
                                 same informationfor each additional defendant.)

                      3.         The Amount in Controversy

                                  The amount in controversy-thc amount the plaintiff claims the defendant owes or the amount at
                                 stake-is more than $75,000. not counting interest and costs of court, because (explain):




111.)      Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiffis entitled to the damages or other reliefsought. State how each defendant was
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement of each chiim in a separate paragraph. Attach additional pages if needed.^



                                 if )                 ,!      /*    _                    -fhaU                   Cc-P har/OiKKr-.




©          Relief


           State briefly and precisely what damages or other reliefthe plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis forthese amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.                                             .




                    i^L>^ i6 c/o                              rue
                    l„<r- (aJaiax/ -A                                                     c^t-co^ ^iV'iA<n,ye
                    Case 1:19-cv-11078-WGY Document 1 Filed 05/09/19 Page 5 of 7


Pro Se 1 (Rev 09/16) Complaint for a Civil Case




V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the bestof my knowledge, information,
          and beliefthat this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3)the factual contentions have
          evidentiary support or, ifspecifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation ordiscovery; and (4) the complaint otherwise complies with the
           requirements of Rule 11.

           A.        For Parties Without an Attorney

                     1agree to provide theClerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff


           B. ^For Attorneys
                     Date of signing:


                     Signature of Attorney
                      Printed Name of Attorney
                   *T3SP=^Sf5cr

                      Name oi Law Firm

                      Street Address

                      State and Zip Code
                      Telephone Number
                      E-mail Address




                                                                                                                          Page 5 of 5
          Case 1:19-cv-11078-WGY Document 1 Filed 05/09/19 Page 6 of 7

      ujinxi: h                                                          SiHyJz.cL

 ^aic^ca^ A(cf^(•^Gh(l-^                                            d'<-s>ok
           /   ' / •                  y ^'Zry-A r^/-^-^'<P.   -A>
 /e^Oe ^^/Ai:-^  6-r-                                         ^

 o,vv-4^ <2',rf„4^
 ifAt irM^
                                                     k>''f               '^' y°^
-fa te- d/vAS-                                                    > Oi-h '
   , ^         <r ^ -f fuJk- (JiA'-j lA)<^nd^                            7^"^
(jkiAAC^ fi,ad -»W<?_ /-^ • / , , ^                                        Tf
         •-A                          (   lAl-^- "7As Cxy-^AALQ
          O'ffdb ^            '•-Jafc'                    ^          J
           go4 hM^ 21 Pi^iUd -tha flA«,/f-'i/<i
            /i           -^•'^ S-Aaa-^s -Afe R^isAd-,^,
                               ^               ^5,4^/ 4"^ iteeya-'-t-
 "^Ack.
  ^                       ,f^ <r' /A-'        T'^'"'-1              /sO^-'M
                               4 cA^c                         ^            ?^S?&
^ .SOyvO''                         - (:'Cf/^SS9 tV
^^(RdiR^i^c'A^^ AAjAykk                               H <A 'A-d.
         Case 1:19-cv-11078-WGY Document 1 Filed 05/09/19 Page 7 of 7



                          y       ^     /^Q! 4AQ                        <r-U/D/. " ^
  J            0-fys^ ^                            J            V
Q«j£g^                                5d X-                *'
                           /-<' '^^'j O^^r"
                                                                  o4a^^
            552/^vy dt^efL^ As Af
 aA               A'OPr2A ^ CA^^C                                          /•
              (^iA-5      c/uj?^
   cfi^ A cb
                    /-6C 2_0/^ d0^2Sd                               ^           /•//

 ^/cA            6a lAo>auyM                   ^
